Case 2:22-cv-09094-GW-MAR Document 627 Filed 09/11/23 Page 1 of 2 Page ID #:19039


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                            UNITED STATES DISTRICT COURT
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    12                    CENTRAL DISTRICT OF CALIFORNIA
    13
         MOOG INC.,                               CASE NO. 2:22-cv-09094-GW-MAR
    14              Plaintiff,                    ____________
                                                  [PROPOSED] ORDER GRANTING
    15        v.                                  STIPULATION REGARDING
                                                  DISCOVERY OF
    16 SKYRYSE, INC., ROBERT ALIN                 ELECTRONICALLY STORED
    17
       PILKINGTON, MISOOK KIM, and                INFORMATION
       DOES NOS. 1-50,
    18
                    Defendants.
    19
         SKYRYSE, INC.,
    20
                    Counterclaimant,
    21
               v.
    22
         MOOG INC.,
    23                Counterclaim-Defendant.
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Case 2:22-cv-09094-GW-MAR Document 627 Filed 09/11/23 Page 2 of 2 Page ID #:19040


     1        The Court, having reviewed the Stipulation Regarding Discovery of
     2   Electronically Stored Information (the “Stipulation”) submitted concurrently
     3   herewith, and good cause appearing therefore, hereby ORDERS THAT:
     4        The stipulation is GRANTED.
     5

     6   IT IS SO ORDERED.
     7          September 11
         Dated: _______________, 2023
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     9                                      ______________________________
                                              The Honorable Margo A. Rocconi
    10                                        United States Magistrate Judge
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